Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 1 of 17 Page ID #:5914




1

2

3

4

5

6

7

8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                         )
11                                       )      Case No.: CV 19-06840-CJC(MRWx)
                                         )
12
     BRIAN HENDRICKS and ANDREW )
                                         )
13   SAGALONGOS, on behalf of themselves )
     and all other similarly situated    )
14
     individuals,                        )      ORDER GRANTING IN
                                         )      SUBSTANTIAL PART PLAINTIFFS’
15                                       )      MOTION FOR CLASS
                  Plaintiffs,            )      CERTIFICATION [Dkt. 57]
16                                       )
           v.                            )
17                                       )
                                         )
18
     AETNA LIFE INSURANCE                )
                                         )
19   COMPANY,                            )
                                         )
20                                       )
                  Defendant.             )
21                                       )
22

23   //
24   //
25   //
26   //
27   //
28


                                          -1-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 2 of 17 Page ID #:5915




1    I. INTRODUCTION
2

3           Plaintiffs Brian Hendricks and Andrew Sagalongos bring this putative class action
4    against Defendant Aetna Life Insurance (“Aetna”). 1 They allege that they were harmed
5    as a result of Aetna’s general policy of denying coverage requests for lumbar artificial
6    disc replacement surgery because the surgery is “experimental or investigational.” Now
7    before the Court is Plaintiffs’ motion for class certification. (Dkt. 57.) For the following
8    reasons, Plaintiffs’ motion is GRANTED IN SUBSTANTIAL PART.
9

10   II. BACKGROUND
11

12          Plaintiffs, who are each covered by Aetna insurance plans issued through their
13   employers, suffer from disc disease in their lumbar (lower) spine, which causes them
14   significant pain and immobility. After medication and corrective exercises failed to
15   mitigate their symptoms, both Plaintiffs consulted with surgeons who recommended
16   lumbar artificial disc replacement surgery (“Lumbar ADR”).
17

18          Lumbar ADR involves replacing a diseased spinal disc with an artificial one.
19   Traditionally, surgeons had recommended spinal fusion to treat degenerative lumbar disc
20   disease, but Lumbar ADR has the potential for improved flexibility and mobility. (Dkt.
21   57-7 [Plaintiffs’ Appendix Volume 2, hereinafter “Pl. App. V.2.”] Ex. 25 at 828–29.)
22   The FDA has approved at least two lumbar disc replacement products. (Id. at 829); see
23   Hill v. UnitedHealthcare Ins. Co., 2017 WL 7038128, at *1 (C.D. Cal. Mar. 21, 2017).
24

25   //
26

27
     1
       Plaintiffs initially included Chad Washburn as a third class representative, but they now state that they
28   are withdrawing him as a named plaintiff. Accordingly, the Court will not consider Chad Washburn in
     its analysis and any reference to “Plaintiffs” does not include him.
                                                         -2-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 3 of 17 Page ID #:5916




1          Plaintiffs requested coverage of their respective Lumbar ADR procedures, and
2    Aetna denied both requests on the ground that Lumbar ADR was “experimental or
3    investigational.” (Dkt. 57-6 [Plaintiffs’ Appendix Volume 1, hereinafter “Pl. App. V.1.”]
4    Ex. 2 at 107, Ex. 5 at 239–40.) As Aetna insureds, both Plaintiffs received summary plan
5    descriptions (“SPDs”), which state that Aetna generally does not cover “experimental or
6    investigational” devices or procedures. (Id. Ex. 1 at 69, 71, Ex. 4 at 224.) And Aetna’s
7    Clinical Policy Bulletin 591 (“CPB 591”) states that Aetna considers Lumbar ADR
8    “experimental or investigational” because there is insufficient evidence of the
9    effectiveness of prosthetic lumbar discs. (Pl. App. V.2. Ex. 25 at 829; see Pl. App. V.1.
10   Ex. 1 at 79 [defining “experimental or investigational” devices and procedures to include
11   those with “insufficient outcomes data available . . . to substantiate [their] safety and
12   effectiveness”].)
13

14         After paying out-of-pocket for their Lumbar ADR procedures, Plaintiffs appealed
15   Aetna’s decision to deny them coverage. After Aetna affirmed its initial denial for each
16   Plaintiff, they filed this lawsuit alleging claims under the Employee Retirement Income
17   Security Act (“ERISA”) for (1) denial of plan benefits and clarification of rights and
18   (2) breach of fiduciary duty. Plaintiffs assert their claims on behalf of “[a]ll persons
19   covered under Aetna Plans, governed by ERISA . . . whose requests for lumbar [ADR]
20   were denied . . . on the ground that lumbar [ADR] is experimental or investigational.”
21   (Dkt. 55 [Third Amended Complaint, hereinafter “TAC”] ¶ 55.) Plaintiffs seek, among
22   other things, an injunction requiring Aetna to retract CPB 591 because it “erroneously
23   classifies claims for [Lumbar ADR] as experimental and investigational.” (Id. ¶ 84.)
24

25   II. LEGAL STANDARD
26

27         Under Federal Rule of Civil Procedure 23, district courts have broad discretion to
28   determine whether a class should be certified. Armstrong v. Davis, 275 F.3d 849, 871

                                                   -3-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 4 of 17 Page ID #:5917




1    n.28 (9th Cir. 2001). Rule 23 is not merely a pleading standard—a party seeking class
2    certification must affirmatively demonstrate compliance with the Rule by proving the
3    requirements in fact. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Under
4    Rule 23(a), a class may be certified if “(1) the class is so numerous that joinder of all
5    members is impracticable; (2) there are questions of law or fact common to the class; (3)
6    the claims or defenses of the representative parties are typical of the claims or defenses of
7    the class; and (4) the representative parties will fairly and adequately protect the interests
8    of the class.” Fed. R. Civ. P. 23(a).
9

10         To be certified, a class must also meet the standards of one of the subsections of
11   Rule 23(b). In this case, Plaintiffs seek certification under Rules 23(b)(1)(A),
12   23(b)(1)(B), and 23(b)(2). Rule 23(b)(1)(A) allows certification “if prosecuting separate
13   actions by or against individual class members would create a risk of inconsistent or
14   varying adjudications with respect to individual class members that would establish
15   incompatible standards of conduct for the party opposing the class.” Rule 23(b)(1)(B)
16   allows certification “if prosecuting separate actions by or against individual class
17   members would create a risk of adjudications with respect to individual class members
18   that, as a practical matter, would be dispositive of the interests of the other members not
19   parties to the individual adjudications or would substantially impair or impede their
20   ability to protect their interests.” And Rule 23(b)(2) allows certification “if the party
21   opposing the class has acted or refused to act on grounds that apply generally to the class,
22   so that final injunctive relief or corresponding declaratory relief is appropriate respecting
23   the class as a whole.” Plaintiff bears the burden of satisfying the requirements of Rule
24   23. Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001).
25

26   //
27   //
28


                                                   -4-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 5 of 17 Page ID #:5918




1    III. DISCUSSION
2

3             Plaintiffs seek to certify a class of “[a]ll persons covered under Aetna Plans,
4    governed by ERISA . . . whose requests for lumbar [ADR] were denied . . . on the ground
5    that lumbar [ADR] is experimental or investigational.” (TAC ¶ 55.) The Court will
6    certify a class, but it will limit the class, based on its typicality analysis, to only those
7    persons whose benefit denials would be subject to an abuse-of-discretion review by this
8    Court.
9

10            A.    Rule 23(a) Requirements
11

12                  1.     Numerosity
13

14            Rule 23(a)(1) requires that “the class is so numerous that joinder of all members is
15   impracticable.” Fed. R. Civ. P. 23(a)(1). There is no magic number required to satisfy
16   numerosity and courts must consider the facts of each specific case. See In re Cooper
17   Cos. Inc. Sec. Litig., 254 F.R.D. 628, 634 (C.D. Cal. 2009) (citing Gen. Tel. Co. of Nw.,
18   Inc. v. E.E.O.C., 446 U.S. 318, 330 (1980)). In general, however, courts have found that
19   “classes of 20 are too small, classes of 20–40 may or may not be big enough depending
20   on the circumstances of each case, and classes of 40 or more are numerous enough.” In
21   re NJOY, Inc. Consumer Class Action Litig., 120 F. Supp. 3d 1050, 1095 (C.D. Cal.
22   2015); see Moore v. Ulta Salon, Cosmetics & Fragrance, Inc., 311 F.R.D. 590, 602–03
23   (C.D. Cal. 2015). Here, Plaintiffs present evidence that Aetna denied coverage for
24   Lumbar ADR on “experimental or investigational” grounds to 239 of its insureds whose
25   denials would be subject to abuse-of-discretion review by this Court. A class of this size
26   easily satisfies the numerosity requirement and Aetna makes no argument to the contrary.
27

28   //

                                                    -5-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 6 of 17 Page ID #:5919




1                 2.     Commonality
2

3          Rule 23(a)(2) requires that “there are questions of law or fact common to the
4    class.” Fed. R. Civ. P. 23(a)(2). To satisfy this requirement, Plaintiffs must
5    “demonstrate that the class members have suffered the same injury.” Dukes, 564 U.S. at
6    350 (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)). This does not
7    “mean merely that they have all suffered a violation of the same provision of law,” but
8    rather that the plaintiffs’ claim depends on a “common contention” that is capable of
9    class-wide resolution. Id. This means “that determination of its truth or falsity will
10   resolve an issue that is central to the validity of each one of the claims in one stroke.”
11   Id.; Willis v. City of Seattle, 943 F.3d 882, 885 (9th Cir. 2019) (“The commonality
12   element may be fulfilled if the court can determine ‘in one stroke’ whether a single policy
13   or practice which the proposed class members are all subject to ‘expose[d] them to a
14   substantial risk of harm.’”).
15

16         Here, Plaintiffs’ claims depend on a question common to their proposed class that
17   is capable of class-wide resolution. Plaintiffs bring their claims on behalf of all Aetna
18   insureds “whose requests for lumbar [ADR] were denied . . . on the ground that lumbar
19   [ADR] is experimental or investigational.” (TAC ¶ 55.) They assert claims for
20   clarification of rights and breach of fiduciary duty—seeking injunctive relief requiring
21   Aetna to retract its policy that classifies Lumbar ADR as experimental or investigational.
22   As a result, Plaintiffs’ claims raise the common question of whether Lumbar ADR has
23   been proven safe and effective for treating degenerative disc disease. If the answer is
24   yes, then Aetna can no longer deny requests for Lumbar ADR on the ground that it is
25   experimental or investigational. Plaintiffs’ proposed class action thus has the capacity
26   “to generate common answers apt to drive the resolution of the litigation.” See Dukes,
27   564 U.S. at 350; see also Escalante v. California Physicians’ Serv., 309 F.R.D. 612, 618
28   (C.D. Cal. 2015) (concluding that a common question existed as to whether “Defendant

                                                   -6-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 7 of 17 Page ID #:5920




1    may classify FDA-approved procedures like lumbar ADR as ‘experimental’ or
2    ‘investigational’”); Hill, 2017 WL 7038128, at *9 (“[T]he Court finds that the question of
3    whether a blanket policy of defining lumbar ADR as unproven is proper is common to
4    the class.”).
5

6           Aetna argues that the commonality requirement is not met because Aetna does not
7    categorically deny coverage for Lumbar ADR, and its medical directors can and do
8    approve coverage for Lumbar ADR in their clinical judgment despite CPB 591.
9    “However, as Plaintiffs point out . . . , the proposed class consists only of patients whose
10   claims were denied.” Des Roches v. California Physicians’ Serv., 320 F.R.D. 486, 499
11   (N.D. Cal. 2017). Thus, the class does not include patients whose coverage
12   determinations “were made because of a reviewer’s discretion that departed from the
13   standards set forth in [Aetna’s CPB 591] Guideline.” Id.; see Escalante, 309 F.R.D. at
14   618 (“Although it may turn out that individual class members suffering from
15   degenerative disc issues may not be covered after Defendant reviews [] any particular
16   individual’s circumstances, this goes beyond the main issue of the case, which challenges
17   Defendant’s policy on its face, not Defendant’s individualized coverage decisions.”).
18

19          Moreover, while Aetna has approved Lumbar ADR for a small portion of patients,
20   the evidence shows that Aetna’s policy is to deny coverage for Lumbar ADR because it is
21   “experimental or investigational.” Aetna’s policy descriptions state that Aetna generally
22   does not cover “experimental or investigational” devices or procedures. (Pl. App. V.1.
23   Ex. 1 at 69, 71, Ex. 4 at 224.) And Aetna’s CPB 591 states that Aetna considers Lumbar
24   ADR “experimental or investigational.” (Pl. App. V.2. Ex. 25 at 829); see Hill, 2017 WL
25   7038128, at *9 (finding commonality based on defendant’s “standard practice [] to deny
26   lumbar ADR [coverage] as unproven” even when defendant does not always deny
27   coverage). Indeed, Aetna denied both Plaintiffs’ requests solely on the ground that
28   Lumbar ADR was “experimental or investigational.” (Pl. App. V.1. Ex. 2 at 107, Ex. 5 at

                                                  -7-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 8 of 17 Page ID #:5921




1    239–40 [“This coverage denial was based on the terms of the member’s benefit plan
2    document . . . . The plan does not cover experimental or investigational services except
3    under certain conditions.”].)2
4

5                  3.      Typicality
6

7           Rule 23(a)(3) requires that the “claims or defenses of the representative parties are
8    typical of the claims or defenses of the class.” Representative claims are “typical” if they
9    are “reasonably coextensive with those of the absent class members; they need not be
10   substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).
11   “The test of typicality is ‘whether other members have the same or similar injury,
12   whether the action is based on conduct which is not unique to the named plaintiffs, and
13   whether other class members have been injured by the same course of conduct.’”
14   Parsons, 754 F.3d 685 (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th
15   Cir. 1992)). The purpose of the typicality requirement is to “assure that the interest of the
16   named representative aligns with the interests of the class.” Just Film, Inc. v. Buono, 847
17   F.3d 1108, 1116 (9th Cir. 2017) (citing Hanon, 976 F.2d at 508).
18

19          Plaintiffs seek to certify a class of “[a]ll persons covered under Aetna Plans,
20   governed by ERISA . . . whose requests for lumbar [ADR] were denied . . . on the ground
21
     2
       Aetna asserts that an ERISA claimant’s general obligation to exhaust his administrative remedies
22
     destroys commonality because it requires an individualized factual determination for each class member.
23   Specifically, Aetna asserts that declining to make this factual determination for each class member
     would violate the Rules Enabling Act, which forbids interpreting Rule 23 to “abridge, enlarge or modify
24   any substantive right,” including Aetna’s right to the exhaustion defense. See Wal-Mart Stores, Inc. v.
     Dukes, 564 U.S. 338, 367 (2011). But courts in this district have held that “unnamed class members in
25   an ERISA class action need not exhaust their administrative remedies” because “the named plaintiff’s
     claim puts the defendant on notice of the absent class members’ claims and thus fulfills the function of
26
     the internal grievance procedure.” Des Roches v. California Physicians’ Serv., 320 F.R.D. 486, 500
27   (N.D. Cal. 2017) (quoting Leon v. Standard Ins. Co., 2016 WL 768908, at *4 (C.D. Cal. Jan. 28, 2016);
     Barnes v. AT & T Pension Benefit Plan-Nonbargained Program, 270 F.R.D. 488, 494 (N.D. Cal. 2010).
28   Aetna has not made the Court aware of any contrary authority addressing the exhaustion defense as it
     relates to commonality.
                                                       -8-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 9 of 17 Page ID #:5922




1    that lumbar [ADR] is experimental or investigational.” (TAC ¶ 55.) But the Court
2    concludes that Plaintiffs are not typical of all persons in their proposed class because their
3    claims may be subject to a different standard of review than the one that applies to other
4    proposed class members.
5

6          A district court reviews a denial of benefits de novo “[w]hen a plan does not confer
7    discretion on the administrator to determine eligibility for benefits or to construe the
8    terms of the plan.” Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955, 963 (9th Cir.
9    2006). A district court must review for abuse of discretion, however, “if the plan does
10   confer discretionary authority as a matter of contractual agreement.” Id. When
11   reviewing for abuse of discretion, a district court may review evidence outside the
12   administrative record only in certain circumstances to determine the existence and effect
13   of a potential conflict of interest. Id. But when a district court conducts de novo review,
14   it may admit evidence outside of the administrative record to determine whether the
15   insurer’s denial was proper. Id.
16

17         Plaintiffs’ claims are subject to abuse-of-discretion review. Consequently,
18   Plaintiffs are incentivized to focus on evidence in the administrative record when proving
19   that Lumbar ADR should not be classified as “experimental or investigational.”
20   Moreover, having to meet an exacting abuse of discretion standard may incentivize
21   Plaintiffs to make different arguments than they would if they were subject to de novo
22   review. Because these incentives could change the way Plaintiffs approach their case in
23   a manner that is not in the best interest of proposed class members whose claims are
24   subject to de novo review, the Court concludes that Plaintiffs’ claims are not typical of all
25

26

27

28


                                                  -9-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 10 of 17 Page ID #:5923




1    proposed class members. The Court therefore limits Plaintiffs’ proposed class to persons
2    whose claims will similarly be subject to abuse-of-discretion review.3
3

4           With this limitation in place, Plaintiffs’ claims are typical of the class they seek to
5    represent. Plaintiffs’ alleged injury is that they were wrongly denied coverage for their
6    Lumbar ADR based on Aetna’s general policy that Lumbar ADR is experimental or
7    investigational. (TAC ¶¶ 71, 84.) And Plaintiffs seek to represent a class of persons
8    whose requests for lumbar ADR were similarly denied “on the ground that lumbar [ADR]
9    is experimental or investigational.” (Id. ¶ 55.) Thus, Plaintiffs and the proposed class
10   were all injured by the same course of conduct, and they all have an interest in resolving
11   the central question raised in this action—whether Lumbar ADR has been proven safe
12   and effective.
13

14          Aetna argues that Plaintiffs are not typical of the proposed class because they both
15   failed to exhaust the second level of their insurance plans’ internal review procedures.
16   Aetna contends that class certification is thus inappropriate because Plaintiffs’ claims are
17   “subject to unique defenses which threaten to become the focus of the litigation.” Hanon,
18   976 F.2d at 508. Plaintiffs respond that exhaustion of their second-level administrative
19   appeal was not required under the plan documents and that any exhaustion requirement
20   was excused by the futility exception. The Court agrees that the futility exception applies
21   and concludes that Plaintiffs were not required to exhaust their second-level
22   administrative appeal before filing their claim for denial of plan benefits. 4
23
     3
24     In their reply, Plaintiffs state that the Court “may certify an abuse of discretion only class” if “the
     Court has any concern that potentially differing standards of review will render class adjudication of
25   class members’ claims impractical or undermine effective representation of the class.” (Dkt. 77-1 at 25.)
26   4
       Plaintiffs were not required to exhaust the administrative review process for their other claim for
27   breach of fiduciary duty because “[t]he exhaustion requirement . . . does not apply to plaintiffs’ fiduciary
     breach claim because this claim alleges a violation of the statute, ERISA, rather than the Plan.” Horan
28   v. Kaiser Steel Ret. Plan, 947 F.2d 1412, 1416 n.1 (9th Cir. 1991).

                                                         -10-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 11 of 17 Page ID #:5924




1           “As a general rule, an ERISA claimant must exhaust available administrative
2    remedies before bringing a claim in federal court.” Spinedex Physical Therapy USA Inc.
3    v. United Healthcare of Arizona, Inc., 770 F.3d 1282, 1298 (9th Cir. 2014). But a
4    claimant need not exhaust a plan’s internal review procedures when “plan documents
5    could be fairly read as suggesting that exhaustion is not a mandatory prerequisite to
6    bringing suit.” Id. “Under ERISA, an employee benefit plan’s internal review
7    procedures must be included in the plan’s written documents.” Vaught v. Scottsdale
8    Healthcare Corp. Health Plan, 546 F.3d 620, 627 (9th Cir. 2008). In addition to the plan
9    instrument itself, plan documents may include the summary plan description (“SPD”) “so
10   long as the SPD neither adds to nor contradicts the terms of existing Plan documents.”
11   Mull for Mull v. Motion Picture Indus. Health Plan, 865 F.3d 1207, 1210 (9th Cir. 2017);
12   see Prichard v. Metro. Life Ins. Co., 783 F.3d 1166, 1170 (9th Cir. 2015).5
13

14          Here, neither party contends that either Plaintiff’s SPD contradicts or adds to the
15   terms of its respective plan instrument because the plans incorporate the terms of their
16   respective SPDs by reference. (Dkt. 71-1 Ex. Q ¶¶ 2.24, 9.1 [“Incorporated Document”
17   includes a “summary plan description.”]; see Dkt. 90 at 3; Dkt. 91 at 4; Dkt. 92 at 3–4.).
18   The Court therefore considers the SPDs when determining whether the plan documents
19   require exhaustion of the plans’ second level of internal review.6
20

21

22

23
     5
      “ERISA defines the word ‘plan’ as ‘an employee welfare benefit plan or an employee pension benefit
24   plan or a plan which is both,’ and it requires that a ‘plan’ ‘be established and maintained pursuant to a
     written instrument.’” Prichard, 783 F.3d at 1170 (citations omitted). “An SPD, in contrast, is a
25   disclosure meant “to reasonably apprise [plan] participants and beneficiaries of their rights and
     obligations under the plan.” Id.
26
     6
27    Neither party contends that other related documents, such as Aetna’s appeal rights document,
     constitute plan documents in this case. (Dkt. 92 at 9 [“Plaintiffs here are not contending that the
28   provisions of the Appeal Process and Member Rights document constitute plan terms.”]); see Vaught,
     546 F.3d at 627.
                                                        -11-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 12 of 17 Page ID #:5925




1          Neither Plaintiff’s SPD can be fairly read as suggesting that exhausting the second
2    level of internal review is not mandatory. They both state that “[g]enerally, [insureds] are
3    required to complete all appeal processes of the Plan before being able to obtain External
4    Review or bring an action in litigation.” (Pl. App. V.1. Ex. 1 at 100; Dkt. 71-2 Ex. R at
5    391.) This statement is followed by one exception: an insured is considered to have
6    “exhausted the Plan’s appeal requirements” if Aetna or the Plan “does not strictly adhere
7    to all claim determination and appeal requirements under applicable federal law.” (Pl.
8    App. V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R at 391.) This exception to the general rule
9    requiring an insured to complete all appeal processes is referred to as “Deemed
10   Exhaustion.” (Pl. App. V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R at 391.) The SPDs go on to
11   mention two levels of administrative appeals that insureds may file with Aetna. (Pl. App.
12   V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R at 391.)
13

14         The SPDs further state that an insured may bring a civil action in court if he does
15   not agree with the “Final Internal Adverse Benefit Determination.” (Pl. App. V.1. Ex. 1
16   at 100; Dkt. 71-2 Ex. R at 392.) A Final Internal Adverse Benefit Determination is
17   defined as an Adverse Benefit Determination that Aetna has upheld “at the completion of
18   the internal appeals process, or an Adverse benefit Determination for which the internal
19   appeals process has been exhausted.” (Pl. App. V.1. Ex. 1 at 100; Dkt. 71-2 Ex. R at
20   390). Finally, the SPDs state that an insured “must complete all of the levels of standard
21   appeal described above before [requesting] External Review, other than in a case of
22   Deemed Exhaustion.” (Pl. App. V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R at 393.)
23

24         The plain meaning of these provisions is clear. Before bringing a civil action for
25   external review, an insured must complete “all . . . levels of standard appeal” described in
26   the SPDs. (Pl. App. V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R at 393.) The SPDs describe two
27   levels of standard appeal. There is only one exception to this general rule—a claim will
28   be “deemed exhausted” regardless of whether an insured has completed both levels of

                                                   -12-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 13 of 17 Page ID #:5926




1    appeal if Aetna or the Plan “does not strictly adhere to all claim determination and appeal
2    requirements under applicable federal law.” (Pl. App. V.1. Ex. 1 at 101; Dkt. 71-2 Ex. R
3    at 391.) Thus, Plaintiffs were required to exhaust both levels of appeal unless their
4    claims were “deemed exhausted.” See Raygoza v. ConAgra Foods, Inc., 2016 WL
5    4157357, at *4 (C.D. Cal. Mar. 9, 2016) (concluding exhaustion was required when the
6    SPD “promulgate[d] a general rule followed by explicit carve-outs”). 7
7

8           Although the plan documents required Plaintiff to exhaust a second-level
9    administrative appeal, Plaintiffs are excused from this requirement under the futility
10   exception. The futility exception may excuse a claimant from “pursu[ing] an
11   administrative review that is demonstrably doomed to fail.” Diaz v. United Agr. Emp.
12   Welfare Ben. Plan & Tr., 50 F.3d 1478, 1485 (9th Cir. 1995); Horan v. Kaiser Steel Ret.
13   Plan, 947 F.2d 1412, 1416 (9th Cir. 1991) (“A district court has discretion to waive the
14   exhaustion requirement, and should do so when exhaustion would be futile.” (citations
15   omitted)). “[A] history of unsuccessful correspondence and review with the Plan can
16   provide a sufficient showing of futility.” Foster v. Blue Shield of California, 2009 WL
17   1586039, at *5 (C.D. Cal. June 3, 2009); see Carey v. United of Omaha Life Ins. Co., 633
18   F. App’x 478, 479 (9th Cir. 2016) (finding futility when “a person in [plaintiff’s] position
19   would have thought that it would be futile to appeal again to [defendant] after it had twice
20   denied his claim.”).
21

22          Here, the history and nature of Plaintiffs’ correspondences with Aetna demonstrate
23   that any second-level administrative review would have been doomed to fail. Aetna
24   formally denied Plaintiffs’ respective requests for coverage of Lumbar ADR two times—
25   in the initial denial of benefits determination and the subsequent denial of the first-level
26   administrative appeal. (See Pl. App. V.1. Exs. 2–3, 5–6.) In both denials, Aetna stated
27
     7
28     The Court need not determine whether the “deemed exhausted” exception applies because it concludes
     that exhaustion would have been futile.
                                                     -13-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 14 of 17 Page ID #:5927




1    that it denied coverage for Lumbar ADR “based on [Clinical Policy Bulletin] criteria,”
2    which provide that Lumbar ADR is not covered because it is experimental and
3    investigational. (Id. Ex. 2 at 107; Ex. 5 at 240; Ex. 3 at 131; Ex. 6 at 248–49; see Pl.
4    App. V.2. Ex. 25 at 829.) The denials went on to state that they were based on each
5    Plaintiff’s plan documents, which expressly state that experimental or investigational
6    procedures and devices are not covered by the plan. (Pl. App. V.1. Ex. 2 at 107; Ex. 5 at
7    240; Ex. 3 at 131; Ex. 6 at 248–49; see Id. Ex. 1 at 69, 71, Ex. 4 at 224.) Aetna also
8    declined Plaintiffs’ surgeons’ requests for Aetna to reconsider the denials pursuant to a
9    peer-to-peer review between Aetna and Plaintiffs’ medical care providers. (See Dkts. 77-
10   5 at 1223–29, 77-3 at 1169–78.) Aetna’s multiple denials of Plaintiffs’ requests for
11   coverage were all based on Aetna’s general policy that Lumbar ADR is experimental and
12   investigational and thus not covered. Because Aetna’s denials indicated that it was
13   simply “following its current interpretation of [a] rule,” Plaintiffs had no reason to
14   believe that a determination in their favor was possible. Accordingly, the futility of a
15   second-level appeal was sufficiently established. Phillips v. Steel Workers W. Indep.
16   Shops Pension Plan Joint Bd. of Trustees of Steel Workers W. Indep. Shops Pension Plan,
17   2004 WL 2203558, at *2 (N.D. Cal. Sept. 29, 2004); see Caldwell v. UnitedHealthCare
18   Ins. Co., 2021 WL 275467, at *2 (N.D. Cal. Jan. 27, 2021) (“In a case like this in which
19   [defendant] as a matter of established policy and practice treats a procedure as
20   “unproven” across the board, one level of appeal is plenty and a second level would be
21   burdensome and futile.”). 8
22
     8
23     Aetna asserts that a second-level administrative appeal would not have been futile because Plaintiffs
     would have received review from a spine specialist at the second level of appeal. But there is no
24   evidence that Plaintiffs were aware of this because Aetna’s denial letters and appeal rights documents
     did not mention it. Carey v. United of Omaha Life Ins. Co., 633 F. App’x 478, 479 (9th Cir. 2016)
25   (finding futility when relevant documents do “not suggest to the ordinary reader that the appeal would
     be conducted by an outside body or by a different body within [the insurer] that might, on the basis of
26
     the same evidence that [the insurer] had already twice rejected, find good cause to come to an opposite
27   conclusion”). While Aetna submits a document explaining this procedure, the document appears to be
     an internal document and Aetna has not made any showing that this information was available to
28   Plaintiffs. (Dkt. 91 at 14; Dkt. 73-3.) Moreover, Aetna has not provided any evidence demonstrating
     that the presence of a spine specialist would result in a positive benefits determination for Plaintiffs.
                                                        -14-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 15 of 17 Page ID #:5928




1                 4.     Adequacy
2

3          To satisfy the adequacy requirement, Plaintiffs must show that they and their
4    counsel will fairly and adequately represent the class. Hanlon v. Chrysler Corp., 150
5    F.3d 1011, 1020 (9th Cir. 1998). This requirement ensures that the constitutional
6    protections of due process and full faith and credit are afforded to absent class members.
7    Hansberry v. Lee, 311 U.S. 32, 43 (1940). “Resolution of two questions determines legal
8    adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest with
9    other class members and (2) will the named plaintiffs and their counsel prosecute the
10   action vigorously on behalf of the class?” Hanlon, 150 F.3d at 1020.
11

12         In light of the Court’s modification to Plaintiffs’ class, the Court has no reason to
13   doubt that Plaintiffs and their counsel will prosecute the action vigorously on behalf of
14   the class, and the Court is not aware of any evidence indicating that Plaintiffs and their
15   counsel have any conflicts of interest with other class members. Aetna contends that
16   Plaintiffs are inadequate for the same reasons that they are not typical. Just as the Court
17   already determined that Plaintiffs satisfy the commonality and typicality requirements, it
18   concludes that Plaintiffs satisfy the adequacy requirement.
19

20         B.     Rule 23(b) Requirements
21

22         Plaintiffs seek certification under Rules 23(b)(1)(A), 23(b)(1)(B), and 23(b)(2).
23   The Court finds that Plaintiffs’ class may be certified under Rule 23(b)(1)(A), so it is not
24   necessary for the Court to consider the other provisions. Rule 23(b)(1)(A) allows
25   certification “if prosecuting separate actions by . . . individual class members would
26   create a risk of inconsistent or varying adjudications with respect to individual class
27   members that would establish incompatible standards of conduct for the party opposing
28   the class.” Fed. R. Civ. P. 23(b)(1)(A). “This subsection covers actions where ‘the party

                                                  -15-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 16 of 17 Page ID #:5929




1    is obliged by law to treat the members of the class alike’ or where ‘the party must treat all
2    alike as a matter of practical necessity.’” Hill, 2017 WL 7038128, at *11 (citing Amchem
3    Products, Inc. v. Windsor, 521 U.S. 591, 614 (1997)). “[A] Rule 23(b)(1)(A) action is
4    not appropriate for situations where separate actions would simply raise the same
5    questions of law; [i]nstead, the ‘incompatible standards of conduct’ of subdivision
6    (b)(1)(A) must be interpreted to be incompatible standards of conduct required of the
7    defendant in fulfilling judgments in separate actions.” Id.
8

9           Plaintiffs are primarily seeking an injunction requiring Aetna to retract its policy
10   that Lumbar ADR is “experimental or investigational.” (TAC ¶ 84); Escalante, 309
11   F.R.D. at 618 (concluding that plaintiff “primarily” sought injunctive relief even when he
12   wanted defendant to review all denied claims and disgorge improper profits made from
13   denial of those claims); Hill, 2017 WL 7038128, at *11 (same). If granted, this relief
14   would affect the rights of all class members because all class members had their “requests
15   for lumbar [ADR] denied . . . on the ground that [it] is experimental or investigational.”
16   (TAC ¶ 55); see Escalante, 309 F.R.D. at 620; Hill, 2017 WL 7038128, at *11. And
17   Aetna would no longer be able to deny Lumbar ADR on experimental and investigational
18   grounds for any of its insureds. Accordingly, the prosecution of “separate actions by . . .
19   individual class members would create a risk of inconsistent or varying adjudications . . .
20   that would establish incompatible standards of conduct for the party opposing the class.”
21   See Fed. R. Civ. P. 23(b)(1)(A). 9
22

23

24
     9
       The Court notes that certification would be also proper under Rule 23(b)(1)(B) and Rule 23(b)(2) for
25   similar reasons. Rule 23(b)(1)(B) allows certification “if prosecuting separate actions by . . . individual
     class members would create a risk of adjudications . . . that, as a practical matter, would be dispositive of
26
     the interests of the other members not parties to the individual adjudications or would substantially
27   impair or impede their ability to protect their interests.” See Hill, 2017 WL 7038128, at *11. And Rule
     23(b)(2) allows certification “if the party opposing the class has acted or refused to act on grounds that
28   apply generally to the class, so that final injunctive relief or corresponding declaratory relief is
     appropriate respecting the class as a whole.” See Escalante, 309 F.R.D. at 620.
                                                         -16-
Case 2:19-cv-06840-CJC-MRW Document 94 Filed 06/11/21 Page 17 of 17 Page ID #:5930




1    V. CONCLUSION
2

3           For the foregoing reasons, the Court GRANTS IN SUBSTANTIAL PART
4    Plaintiffs’ motion for class certification and hereby CERTIFIES the following class:
5

6
                   All persons covered under Aetna Plans, governed by ERISA, self-
            funded or fully insured, whose requests for lumbar artificial disc
7           replacement surgery were denied at any time within the applicable statute of
8
            limitations, or whose requests for that surgery will be denied in the future,
            on the ground that lumbar artificial disc replacement surgery is experimental
9           or investigational, and whose denials will be subject to abuse of discretion
10
            review by the district court.

11

12   Plaintiffs Brian Hendricks and Andrew Sagalongos are appointed as Class
13   Representatives and their counsel, Gianelli & Morris, are appointed as Class Counsel.10
14

15

16
            DATED:         June 11, 2021
17
                                                         __________________________________
18
                                                                CORMAC J. CARNEY
19
                                                         UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26
     10
27     The Court also GRANTS the parties’ applications to file under seal documents filed in connection
     with this motion for class certification. (Dkts. 72, 76). These documents contain personal health
28   information as well as proprietary business information. See Ctr. for Auto Safety v. Chrysler Grp., LLC,
     809 F.3d 1092, 1096 (9th Cir. 2016).
                                                       -17-
